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 4       SELECT COMMITTEE TO INVESTIGATE THE

 5       JANUARY 6TH ATTACK ON THE U.S. CAPITOL,

 6       U.S. HOUSE OF REPRESENTATIVES,

 7       WASHINGTON, D.C.

 8

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11       INTERVIEW OF:   MICHAEL SHIRKEY

12

13

14

15                                   Wednesday, June 8, 2022

16

17                                        Washington, D.C.

18

19

20             The interview in the above matter was held via Webex, commencing at 1:02 p.m.
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 2       Appearances:

 3

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 5       For the SELECT COMMITTEE TO INVESTIGATE

 6       THE JANUARY 6TH ATTACK ON THE U.S. CAPITOL:

 7

 8                      ENIOR INVESTIGATIVE COUNSEL

 9

10                        PROFESSIONAL STAFF MEMBER

11

12

13       For MICHAEL SHIRKEY:

14

15       MATTHEW SCHNEIDER

16       HONIGMAN LLP
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 1

 2                              Okay.    We're on the record.

 3               So this is the transcribed interview of Michael Shirkey conducted by the House

 4       Select Committee to Investigate the January 6th Attack on the United States Capitol

 5       pursuant to House Resolution 503.

 6               Mr. Shirkey, could you please state your full name and spell your last name for the

 7       record?

 8               Mr. Shirkey.     Michael J. Shirkey.   It's just the letter J, S-h-i-r-k-e-y.

 9                              And, counsel, can you please identify yourself and spell your last

10       name for the record?

11               Mr. Schneider.     Matthew Schneider, Honigman Law Firm, S-c-h-n-e-i-d-e-r, and

12       the law firm is H-o-n-i-g-m-a-n LLP.

13                              My name i s _ , senior investigative counsel for the select

14       committee.     In the room today with me from the select committee is

15       professional staff.    One of my colleagues is on the Webex now,                        and we

16       may have members joining us from time to time.          I will do my best to announce their

17       arrival when they come into the interview.

18               This interview is being recorded, as you heard, but the official transcript of

19       this -- or the official record of it will be the transcript that's being prepared by the official

20       reporter.

21               Because the reporter is taking down everything that's said during the interview, I

22       ask you to please wait until each question is completed before you begin your response,

23       and we'll try to wait until your response is complete before we ask our next question.

24               The stenographer cannot record nonverbal responses, such as shaking your head,

25       so it's important that you answer each question with an audible, verbal response.
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 1                 We ask you to provide complete answers based on your best recollection.          If the

 2       question is not clear, please ask for clarification.   If you don't know the answer, of

 3       course, please simply just say so.

 4                 I want to remind you, Senator Shirkey -- and this is not specific to you, this is an

 5       admonition that we give to all witnesses -- I want to remind you that it's unlawful to

 6       deliberately provide false information to Congress, and doing so could be a violation of

 7       Title 18, United States Code, Section 1001, and other statutes.

 8                 Are there any questions about anything I've gone over so far?

 9                 Mr. Shirkey.    I have no questions.

10                                If at any point during the interview today you need to take a break,

11       please just let me know, and we'll accommodate you and take as long a break as you

12       need either to talk to your attorney or for any other purpose.

13                 With that, if you have a statement that you'd like to read before we get started,

14       now would be a good time.

15                 Mr. Shirkey.    Thank you, • .

16                 The events that occurred on January 6th are vivid memories for me and my wife.

17       I think I may have mentioned the last time we talked that I can recall both of us sitting

18       there holding hands and in tears watching those events unfold.

19                 I am happy to accommodate this interview, in addition to the one that previously

20       occurred, and I think it's important to get to the bottom of what actually occurred on that

21       day.

22                 I recognize that you're going to ask me a lot of questions that happened more

23       than 2 years -- or 2 years ago or so, and I will do my very best to do that based on the

24       memory that I have.        And I also acknowledge that this is being recorded and on the

25       record.
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 1                             Thank you, Senator Shirkey.       And thank you for being here today.

 2       And thank you for those remarks.

 3                                              EXAMINATION

 4

 5               Q    I'm going to start with just a little bit of background.

 6               Are you currently a member of the Michigan State Senate?

 7               A    I am.

 8               Q    How long have you been in the State legislature in Michigan?

 9               A    I've been in the legislature since 2011.

10               Q    And all that time in the senate or were you in the house for some period of

11       time?

12               A    I was in the house for two terms, plus a few weeks, and this is my second

13       term in the senate.

14               Q    Are those 2-year terms?

15               A    The house was 2-year terms, two 2-year terms.         The senate has been

16       4-year terms, one 4-year term I've completed and the second 4-year term I'm in my

17       third -- or fourth year of that 4-year term.

18               Q    Do you currently hold a leadership position in the senate?

19               A    I do.

20               Q    What position is that?

21               A    Senate majority leader.

22               Q    How long have you been the senate majority leader?

23               A    Just for this term.

24               Q    And the term, you said you're 3 years into it, so that would have been

25       starting in January of 2019?
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1             A    Correct.

2                          Okay.    Let's go off the record for one second.

3             [Discussion off the record.]

4                          Okay.    So let's go back on the record.
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 3                 Q    Senator Shirkey, I'm going to focus our questions today on specific

 4       interactions that you had in the aftermath of the 2020 election.

 5                 I take it you were on the ballot in the 2020 -- oh, maybe I shouldn't.   Were you

 6       on the ballot in the 2020 general election?

                   A    I was not on the ballot.

                   Q    So your term is -- you were on the -- 2018 was the last time you were on a

 9       ballot?

10                 A    Correct.

11                 Q    Were you involved in campaigning on behalf of other Republican candidates

12       in 2020?

13                 A

                   Q    State and Federal?

                   A    Primarily State.

                   Q    Did Republicans have the majority in the Michigan Senate going into the

17       2020 election?

18                 A    Yes.

19                 Q    And did it maintain that majority after the 2020 election?

20                 A    Yes.

21                 Q    How about the Michigan House?        Were the Republicans the majority in the

22       house going into the 2020 election?

23                 A    Yes.

24                 Q    And have they retained that majority?

25                 A    Yes.
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 1              Q     Did you actively campaign for President Trump in 2020?

 2              A     I'm not sure the definition of actively campaign, but I attended some

 3       meetings and rallies, not very many.    But there was no mystery about me supporting

 4       him for President.

 5              Q     You did support his candidacy?

 6              A     Yes.

 7              Q     After the election did you have any direct personal interactions with

 8       President Trump?

 9              A     Yes.

10              Q     When was the first direct interaction you had with President Trump after the

11       2020 election?

12              A     Now I've got to refer to my notes so I don't get dates mixed up.

13              So the best of my recollection, the first time I was interacting with the President

14       after the election was November 18th.

15              Q     Was that a telephone call at approximately 6:07 p.m.?

16              A     Yes.

17              Q     Tell me what, if you know -- well, did you call the President or did he call

18       you?

19              A     He called me.

20              Q     What was the purpose of that phone call?

21              A     He invited me to join the speaker of the house and visit the Oval Office a

22       couple of days later.

23              Q     Prior to receiving the call from the President, had you been alerted to the

24       fact that he might be calling to invite you to the White House?

25              A     Yes.
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 1                Q    How did you learn of that?

 2                A    The speaker of the house told me that I might be getting a call from the

 3       President of the United States and advised me that my display on my phone would say,

 4       "Spam risk Egypt."       That was my notification for the fact that that might be him.

 5                Q    Was the speaker of the house at the time Lee Chatfield?

 6                A    Correct.

 7                Q    And Mr. Chatfield, did he tell you that he had already spoken to the

 8       President about coming to the White House?

 9                A    I believe so.

10                Q    What do you remember specifically Mr. Chatfield telling you about the call

11       that he had with President Trump?

12                A    All I remember is, because it was a little surprising getting a notice from the

13       speaker that he would be calling, and then even more surprising to be on the alert for

14       "Spam risk Egypt," and then he just advised me that he would be asking for whether or

15       not I would be interested in coming to Washington, D.C., very quickly afterwards.

16                And that was the extent of what I remember about that interaction, because I was

17       already thinking about the logistics, because it was inferred that it was going to be pretty

18       quick.

19                Q    Did Mr. Chatfield tell you what the purpose of the meeting at the White

20       House was or was going to be?

21                A    No, no.

22                Q    So you said you received a call on the evening of November 18th.       Did your

23       phone indicate that it was a call coming in from Egypt?

24                A    It did.

25                Q    And was President Trump on the line?
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 1           A    You know, there were more than one call -- there was more than one call,

 2   and I do believe it may have been a call or two -- again, I'm just going by memory here

 3   that's not good -- where it might have been a secretary announcing him.          But it seems to

 4   me that one was directly from him.      But I could be mistaken on that.

 5           Q    Now, the phone records reflect that the call lasted approximately 4 minutes.

 6   What do you remember about taking place on that call?

 7           A    I remember him introducing himself and inviting the speaker and I to

 8   Washington, to the Oval Office.      I also remember him saying, "If you want to bring along

 9   some of your buddies, some of your colleagues, that's fine also."

10           Q    Did he tell you what the purpose of the meeting was?

11           A    No, he didn't.    He just -- he not say what the purpose of the meeting was.

12           Q    Did he ask you anything about the 2020 election in that phone call on the

13   18th?

14           A    Yeah.      He mentioned his concerns about the election and questioned

15   whether or not we were doing about it, and I mentioned to him that we were indeed

16   looking into some of the allegations that had been made.

17           Q    So this -- I'm sorry.   I interrupted your answer.   I apologize.

18           A    I said I responded.     He asked that question, and I said, yes, we were looking

19   into some of the allegations that had been made.

20           Q    So the call was approximately 2 weeks after the election.      Were you aware

21   at that time of allegations of election fraud being raised in Michigan?

22           A    I was aware of a lot of allegations being made about election fraud across

23   the State and Nation.

24           Q    Had you taken any steps as majority leader to have any of those claims

25   investigated by anyone?
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 1          A     We assigned a senate oversight committee the job to begin to outline how

 2   they would investigate some of the allegations in Michigan that seemed to be deserving

 3   of such.

 4          Q     At the time was Senator Ed McBroom the chair of the oversight committee?

 5          A     Yes.

 6          Q     And did you authorize, if that's the right term, Senator McBroom to proceed

 7   with that oversight committee investigation?

 8          A     Yes.

 9          Q     And did he do that?

10          A      He did.

11          Q     In the call with the President, did any of the details of the oversight

12   committee's investigation come up?

13          A      No.

14          Q     Anything else you remember about your discussion with the President

15   regarding election fraud claims in that first phone call on the 18th?

16          A     It was a very brief call.   And other than him asking the question of whether

17   or not we're aware of or looking into some of the allegations and me responding by

18   saying we are looking into it, I don't recall anything else.

19          Q      Do you remember if he mentioned any specific allegations that were of

20   concern to him?

21          A     I do not recall.

22          Q      Did you end up going to Washington, D.C., to meet with the President?

23          A     Yes.

24          Q      Did you have any discussions with Speaker Chatfield in advance of that

25   meeting with the President to sort of discuss what might be the subject or the topic of
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 1   discussion that would come up at the meeting?

 2          A     We anticipated that the conversation would likely get to what are we doing

 3   in Michigan to investigate some of the allegations of fraud.

 4          We also talked about let's make good use of this time.     And so we brought along

 5   with us a formal letter to the President asking for some specific considerations regarding

 6   Federal funding associated with the COVID pandemic.

 7          Q     Did you discuss with Mr. Chatfield what your response would be if he asked

 8   about election fraud claims in Michigan?

 9          A     I did.

10          Q     And what was -- can you describe what that conversation was with Speaker

11   Chatfield?

12          A     We both concurred -- it wasn't a long conversation -- that we were going to

13   simply follow Michigan's laws.

14          Q     And tell that to the President?

15          A     Multiple times.

16          Q     Sorry.   I'm asking, sir, in the pre-meeting discussions with Speaker

17   Chatfield, did you discuss the fact that you would tell the President what you just said,

18   that we will follow the laws of Michigan?

19          A     Yes.

20          Q     Okay.    Any other discussions with Speaker Chatfield beforehand about how

21   you might respond to specific election fraud claims?

22          A     No.

23          Q     Who else besides Speaker Chatfield accompanied you to Washington?          And

24   then I understand maybe a smaller group of the contingent or the delegation actually met

25   with the President.   Am I correct?
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 1          A     You are correct.

 2          Q     So if you could --

 3          A     Go ahead.

 4          Q     Yeah.   I'm sorry.

 5          So in that larger group, who made the trip to Washington with you and Speaker

 6   Chatfield?

 7          A     In addition to Speaker Chatfield and myself, we had Senators Barrett,

 8   Lauwers, and Nesbitt, and Representatives Wentworth and Lilly, and then we each had

 9   our own respective general counsels with us.

10          Q     And which members of that group actually attended the Oval Office

11   meeting?

12          A     Everyone except the general counsels.

13          Q     Do you recall approximately how long that meeting lasted in the Oval Office?

14          A     From the time we left the Roosevelt Building, I think it's called -- Eisenhower

15   Building -- until the time we got back, it was approximately 90 minutes.

16          Q     Who else, other than the Michigan delegation that you've described, who

17   else was present for the meeting in the Oval Office?

18          A     Physically present, all I recall is Mark Meadows.

19          Q     Were there other people who participated by phone?

20          A     Yes.

21          Q     Who do you recall participating by phone?

22          A     I recall Ronna Romney McDaniel and Rudy Giuliani.

23          Q     Do you know Ms. McDaniel from Michigan days?

24          A     I do know of her from her Michigan days, yes.

25          Q     I take it, did you invite her to this meeting?
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 1           A    I don't think I invited her to the meeting, no.

 2           The video went out.

 3           Q    Okay.    And I take it the same is true for Mr. Giuliani, you didn't invite him to

 4   participate in the meeting?

 5           A    No.     President Trump invited him to the meeting once the meeting started.

 6           Q    And is that true for Ms. McDaniel, that she was not present on the phone

 7   when the meeting started?

 8           A    Neither Ronna nor Rudy were on the phone when the meeting started.

 9           Mr. Schneider.   -      can you hold on a second?        We're just having an issue

10   with the video.

11                         Sure.   Let's go off the record.

12           [Discussion off the record.]

13                         Okay.   We'll go back on the record.

14

15           Q    So, Senator Shirkey, you said the meeting lasted about 90 minutes.          Could

16   you just give us, before we get into the details, just a brief overview of what took place

17   during that 90-minute meeting?         And then I'll want to dig in on some of the specifics.

18           A    So we left the Eisenhower Building, made our way across the walkway, went

19   up through a narrow set of stairs, went into the reception area, which I believe was

20   immediately adjacent to the Oval Office.

21           Had an interaction with the receptionist for the United States of America.

22   Challenged her on that title that she got, and she showed me her business card.          So she

23   indeed was the receptionist for the United States of America.

24           I don't think we were there more than 5 to 7 minutes.        Didn't feel like a long

25   time.   And then we were escorted into the Oval Office.
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 1          And Mr. -- President Trump was behind his desk.       Came out from behind it and

 2   shook everybody's hands.

 3          And then there were seven chairs set up across the front of the desk, and we all

 4   took positions on those chairs.   Mark Meadows sat on the sofa behind us.       And to the

 5   best of my recollection, he was there for the entire meeting.

 6          And then we ran through the cordials.     So everybody had a chance to introduce

 7   themselves and where they're from in Michigan and maybe -- I think some of them even

 8   acknowledged some of the committees that they serve on.

 9          And then we started, began to have a conversation.       Conversation for a while.

10   And then at one point in time, the President got up and went out in the Rose Garden for a

11   few minutes.    I don't know how long.    It was 7, 8 minutes maybe.     I don't think it was

12   10 minutes.

13          And then after that the conference call occurred with Ronna and with Giuliani.

14   We did have an entertaining interaction with the fellow that brought Diet Coke in to the

15   President.

16          Then we finished up our conversations.        We concluded with a presentation of

17   our letter to him and explained the purpose of it.     And there were photo ops for all of

18   the members that were there.      One member, I think Senator Nesbitt actually had

19   something he wanted the President to sign so he could have a signature from him.

20          And at that point in time, we departed from the Oval Office with Mark Meadows.

21   He took us on a detailed tour, a very interesting detailed tour of the Situation Room and

22   the Cabinet Room.

23          We spent not an insignificant amount chime in both of those locations because I

24   was full of questions regarding particularly the Situation Room.     He went through a

25   number of scenarios in which he was actually present and personally was able to observe
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 1   with regards to things like rescuing people in remote parts of the world.

 2           Then he presented to us some trinkets and souvenirs to leave with.        And then we

 3   left.   And we did not go back to see the President or the Oval Office.

 4           Q     Thank you for that overview.     That's helpful.

 5           So I want to focus on the portion, the conversation, what you described as sort of

 6   the meeting starting after that, after the introductions, and so forth, but before the

 7   President went out to the Rose Garden.

 8           So what was the -- I assume the President at some point early on in that discussion

 9   announced the reason that he had called you to Washington?

10           A     I don't think there was -- to the best of my recollection, I don't think there

11   was ever a formal statement of reason for coming, but there wasn't a mystery about it

12   either in terms of he's inquiring as to what Michigan is doing to investigate the allegations

13   on fraud.

14           Q     Can you give us more specifics about what the President said about the

15   allegations of fraud?

16           A     You know, I'm going to disappoint you a bit because there's not a lot of

17   specifics that he said that I'm going to remember directly.      I'm doing the best I can to

18   remember the essence of the conversations.

19           One thing I do remember is that he never, ever, to the best of my recollection,

20   ever made a specific ask.    It was always just general topics about, you know, did you

21   hear about this or what are you doing about -- you know.         And he would make mention

22   about Wayne County and TCF Center and all of the video that was shown on national TV

23   with respect to that and did it in the form of questioning what's actually going on there.

24           He was a bit disparaging about Wayne County.        At one point in time I made it

25   clear to him that he didn't lose Michigan because of Wayne County.         And that was -- I
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 1   could tell by his body language that wasn't necessarily what he wanted to hear.

 2          Q     Can I stop you there for one second?

 3          What do you recall him saying that was disparaging of Wayne County?

 4          A     Just that all of the chaos going on with TCF Center and the late night band

 5   showing up that everybody has seen a thousand times on TV and the boxes being

 6   unloaded, and then the inference that if none of that had happened he would have won

 7   Michigan.   And that's not a true statement.

 8          Q     Did he make comments along the line of Detroit is corrupt or they're corrupt

 9   in Detroit or in Wayne County, sort of broader statements about sort of his views of

10   Detroit politics, Wayne County politics, or elections?

11          A     I don't recall if he ever used the word "corrupt," but I do think he probably

12   referenced that Wayne County has a history.

13          Q     And you said you made some response -- or responded to that by telling him

14   that's not why he lost Michigan.   Do you remember what you said to him in that regard?

15          A     I do, because I have had to repeat it a few hundred times to other people

16   besides President Trump.

17          Q     What did you say?

18          A     I said he primarily lost Michigan because of two counties that are routinely

19   Republican counties, Kent County and Oakland County, and more specifically he

20   underperformed with educated females.

21          And I'm going to be even more specific.     If he had received the same number of

22   votes as the two winning sheriffs in those two counties, he likely would have won

23   Michigan.

24          Q     So I take it by November 18th, 2 weeks after the election, you already had

25   fairly specific demographic information about how sort of the votes broke out in various
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 1   parts of the State.

 2           A       Yes.    It was sliced and diced pretty well.

 3           Q       And do you know how he did in -- how the President did in Wayne County as

 4   compared to, say, 2016?

 5           A       He actually outperformed considering the increase in voter turnout in 2020

 6   than he did in 2016.       It was not enough, obviously, to carry the election.   He didn't

 7   underperform in Wayne County if you compare it to 2016.

 8           Q       You said that when you made that comment to him he didn't seem to like

 9   the answer.      What made you think that?

10           A       My recollection is he quickly changed the topic and went a different

11   direction, but don't ask me what that was because I don't remember that.

12           Q       Do you remember what he said about concerns about the TCF Center

13   specifically?

14           A       He's famous for broad strokes.      Can you believe all the cardboard that they

15   were taping up on Plexiglass?         And can you believe the yelling and screaming that

16   occurred?       And can you believe they locked certain people out who wanted ostensibly

17   to come in to observe?          There was a litany of those things that he was going through.

18           Q       Did you push back on any of those claims?

19           A       No, because I didn't know enough at that time.

20           Q       So the meeting was on -- I don't know if we even established this yet -- the

21   meeting was on November 20th, on a Friday.            Is that right?

22           A       Yeah.    Yes.

23           Q       So the evening before, or late in the afternoon before, on November 19th,

24   there was a press conference that Mayor Giuliani, Sidney Powell, and others held at the

25   RNC headquarters in Washington.
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 1          Do you recall that press conference or anything about it?       It got a lot of national

 2   media attention.

 3          A     Yeah, I don't remember any -- I remember many, watching many press

 4   conferences, but I don't remember -- I don't recall any specific press conferences.

 5   recall seeing Rudy Giuliani on television more often than I care to remember on this topic.

 6          Q     This is a press conference that got a lot of attention.   Mr. Giuliani had some

 7   hair dye or what appeared to be hair dye running down his face during it.       And there

 8   was a lengthy discussion at the press conference by Sidney Powell and Mr. Giuliani about

 9   Dominion voting machines and Hugo Chavez.         I'm just wondering if that rings a bell for

10   you.

11          A     I can remember Giuliani mentioning Dominion voting machines.            I'm just

12   not sure I remember it at that particular press conference.

13          Q     And the reason I bring up the press conference is that the Oval Office

14   meeting was the day after, and I'm wondering whether -- for a lot of people that press

15   conference left a lasting impression, and whether that was something that was front of

16   mind for you or came up in the discussions during the White House meeting.

17          A     So when he was on the conference call in the Oval Office he was repeating

18   things that I had heard him say multiple times.    Whether or not it was the night before

19   or not, to me, he hadn't changed his mantra much at all.

20          Q     Got it.    Okay.   Let's move to that part of the meeting.

21          So you had this initial discussion.   The President left the Oval Office for a period

22   of time, a few minutes, less than 10 minutes, and then came back in.       And you said at

23   that point Ms. McDaniel and Mr. Giuliani joined by phone.

24          Am I getting that sequencing right?

25          A     You are.
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 1           Q        How is it that they joined the conversation, if you know?

 2           A        If I recall correctly, the President hit a button on his phone and had

 3   somebody connect them.           He did not directly dial them.

 4           Q        But he requested that they be brought into the conversation, to your

 5   recollection?

 6           A        That is true.

 7           Q        Did the President bring Ms. McDaniel and Mr. Giuliani in at the same time or

 8   was it at different points during the meeting?

 9           A        I remember Ronna speaking first.     I don't remember if they were on at the

10   same time or it was one call then the next one.

11           Q        What do you remember Ms. McDaniel saying during that meeting?

12           A        It was no substance.    It was a lot of, "Sorry I wasn't able to be there to see

13   my friends from Michigan, yada, yada, yada."         But there was no -- to my recollection,

14   there was no real substance as relates to the election.

15           Q        Did Mr. -- did the President tell the group why he was bringing Ms. McDaniel

16   into the call?     So, in other words, "Hey, I'm going to get Ronna McDaniel on for X, V, or Z

17   reason."

18           A        I don't remember.

19           Q        Okay.    How about Mr. Giuliani?     What do you recall his role being in the

20   meeting?

21           A        There was an interaction between the President and us about questioning

22   how were we looking into allegations of fraud and so forth.         And we were -- again, that's

23   when we were talking about TCF and Wayne County and Oakland County and Kent

24   County.

25           And I believe the strong inference from both Speaker Chatfield and I was that we
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 1   saw no reason for anything to be done on our end other than to investigate some of the

 2   allegations.

 3            And he asked if you'd like to -- no.     He asked, "Would you mind if I dialed in

 4   Giuliani?"     What am I going to say?       Yeah, I don't want Giuliani on the phone?    So I

 5   think even if I said no, he would have just done it anyway.

 6            But that's the best of my recollection.

 7            Q     And when Mr. Giuliani came on the phone, did you get the sense that he was

 8   surprised to be brought in?      Had he been sort of -- did he know what he was getting into

 9   or what you guys were doing when he was brought on the line?             I know I'm asking you

10   to speculate somewhat here.

11            A     Yeah.     I don't think I recall vividly enough to be able to comment on that,

12   other than it didn't take him long to get into his routine.

13            Q     He got up to top speed pretty quickly?

14            A     Yes.

15            Q     So tell me about what Mr. Giuliani said when he got on the line.

16            A     He started going through his litany of claims and observations that he's

17   made and the reasons why, in his opinion, the election was problematic, if not worse.

18   And he went on.        He was filibustering, is what he was doing.

19            Of everybody in that room, I'm not so sure he wasn't the one that talked the

20   longest of all of us for that entire time.      He talked a long time.   That's what he was

21   doing.

22            Q     And was this -- was the President participating in that part of the discussion

23   or was Mr. Giuliani pretty much just on a long monologue?

24            A     He was on a long monologue.         And so I'm not sure if this was ever talked

25   about post-meeting, but I may have offended him a little bit because I did my best to
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 1   interrupt him because he was going -- literally going on and on and on.          It was just

 2   getting to the point of uncomfortable.

 3          So I was, "Rudy?     Rudy?     Rudy?"       He finally stopped talking.   I simply asked,

 4   "So when are you going to file charges, file a lawsuit in Michigan?"        And there may have

 5   been a 2-second void, and then he just kept talking.

 6          Q     So he didn't answer the question about when he would file the lawsuit?

 7          A     Never answered the question.

 8          Q     Why did you feel the need to interrupt him to ask that question?

 9          A     Because I'm impatient.

10          Q     Did you find his presentation compelling in terms of the points that he was

11   making about election fraud?

12          A     I found that there was nothing new that I hadn't already heard.

13          Q     Did any of the other members of the Michigan delegation speak up and

14   challenge Mr. Giuliani in the same way that you did?

15          A     I don't think anybody else spoke -- to the best of my recollection, I don't

16   think anybody else spoke while Rudy was speaking.

17          Q     Did the President make any comments during Mr. Giuliani's lengthy

18   discussion about his concerns or claims about election fraud?

19          A     I don't -- I honestly don't recall.

20          Q     Did the President respond in any way when you challenged Mr. Giuliani and

21   asked him when he was going to file a lawsuit?

22          A     I recall that he sat up a little bit, but he never said a word that I recall.

23          Q     When you asked Mr. Giuliani whether he was going to file a lawsuit, what

24   did you mean by that or what was the point of making that -- or asking that question?

25          A     My point then, and it always has been, that I got -- I was tired of hearing all
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 1   of these loosely calculated claims and allegations but no substance to back them up.

 2             Something as serious as this, it was my strong personal feeling that we were

 3   destroying the country by talking like this without having something to follow it up with

 4   and creating unnecessary doubt across the country.

 5             Q       Did you share that feeling explicitly at the meeting?

 6             A       No.

 7             Q       Did you ever say words to the effect that this is dangerous or we're

 8   destroying the country by raising these claims without any evidence to back it up?

 9             A       No.

10             Q       And I said "we are."    I'm not suggesting that you were raising these claims, I

11   guess.        Did you suggest that it was irresponsible or dangerous for Mr. Giuliani to be

12   raising these claims without evidence to back them up?                Did you say words to that

13   effect?

14             A       I don't know.    I don't think I did.     But that was the -- you asked what was

15   the reason for me to say it, and that was the reason for me, to try to get to the point.

16             Q       At any point during the meeting did you tell the President your personal

17   view regarding the claims that had been raised regarding Michigan?

18             A       Yeah.   I told him about he didn't lose it because of Wayne County and all

19   the rest of the stuff I just shared with you.

20             Q       You did share that.    I'm sorry.       I neglected that piece.

21             How about concerns about whether there was evidence to back up those specific

22   claims of election fraud?         Did you ever raise concerns or questions about that in your

23   meeting with the President?

24             A       That was a strongly implied question when I asked Rudy whether or not he

25   was ever going to file a lawsuit.        But I never mentioned it specifically.
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 1           Q       Any other comments to Mr. Giuliani -- or did you make any other comments

 2   to Mr. Giuliani along the same lines, expressing skepticism or challenging him with

 3   respect to the claims that he made, other than the comment you described about the

 4   lawsuit?

 5           A       I don't think I -- I don't think there was any more exchange between Giuliani

 6   and I after that.

 7           Q       At some point Mr. Giuliani stopped talking, I take it?

 8           A       Yeah.   Yes, he did.

 9           Q       And then where did the meeting go from there?

10           A       It was terminated -- that call was terminated.      I don't recall if it was

11   terminated by the President or by Giuliani.

12           Q       After Mr. Giuliani was off the line, did your conversation with the President

13   continue regarding election fraud?           I know you've mentioned the COVID issue that you

14   brought up towards the end of the meeting, but was there any further discussion about

15   election fraud claims after Mr. Giuliani was off the line?

16           A       Marc, I don't recall that.     It doesn't mean that it didn't happen.     But it

17   was -- any comments that the President made regarding that, they were always just

18   general things.     They were not specific.

19                           Okay.     Before I move on to another topic, -         do you have any

20   questions on this?

21           Ms. -           No.     Thanks, -

22

23           Q       So I'm going to -- I know you described some other things that took place in

24   that meeting, but I'm going to move on to sort of the post-meeting time period, Senator

25   Shirkey.
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 1          A       Okay.

 2          Q       So after the meeting, you and Speaker Chatfield issued a joint statement.

 3   Do you remember that?

 4          A       I do.

 5          Q       And we're going to pull up on the screen -- we'll share our screen, and

 6   hopefully you can see it there.      We're pulling up what's marked on our end as exhibit 2.

 7          Can you see that?

 8          A       Yeah, I can see it.   It's a different question of whether I can read it.

 9          You got a copy of it right there?

10          Q       We can zoom in a little bit.    I just want to ask you generally if this looks like

11   the statement that you released.

12          A       Well, just give me a chance to look through it.

13          Q       Sure.

14          A       Scroll down past "months ago," please.

15          Okay.

16          Q       Why did you and Speaker Chatfield feel it was necessary to issue a statement

17   after your meeting?

18          A       Because the meeting was not a very good secret, and so we just tried to

19   anticipate questions and basically engineer a response without having to endure a myriad

20   of different kinds of questions and kind of answer the essence of it and be able to put

21   that chapter behind us.

22          Q       Understood.

23          I want to ask you a couple of questions about the last two paragraphs, the ones

24   that are on the screen now.

25          A       Okay.
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 1            Q      It's the paragraph beginning, "The Senate and House Oversight Committees

 2   are actively engaged in a thorough review of Michigan's elections process."         I'll read the

 3   rest of it.   "And we have faith in the committee process to provide greater transparency

 4   and accountability to our citizens."      And stop on that sentence.

 5            Is that something that you conveyed to the President -- the substance of that, is

 6   that something you conveyed to the President during your meeting?

 7            A      I don't recall even mentioning the oversight committee to the President.

 8   Maybe we did.       I'm just saying I don't recall that directly.

 9            Q      Okay.   The next sentence says, "We have not yet been made aware of any

10   information that would change the outcome of the election in Michigan."           I'm going to

11   stop on that.

12            Do you know, is that something that you said in substance to the President during

13   the Oval Office meeting?

14            A      I think that's the essence of me saying, "Mr. President, you didn't lose

15   Wayne County.        You lost in two counties, Oakland and Kent County."       And if I had any

16   other information beyond that, I probably would have shared it at that time.

17            But that really was the essence of the message to him, that there's no -- we had

18   available to us no additional information that would cause us to question the outcome.

19            Q      So I understand the point you just made.       I want to make sure so that I'm

20   clear on the words that were -- and I don't mean the exact words -- but sort of what was

21   actually said versus inferred or implied during that meeting.

22            So other than the reference to Oakland and Kent Counties and the reason that the

23   President lost and the implicit suggestion in your comment to Mr. Giuliani about the

24   lawsuit, did you make any other comments along the lines to suggest to the President

25   that you had not been made aware of any information that would change the outcome of
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 1   the election in Michigan?

 2             A      Not to my recollection.

 3             Q      Did anyone else at that meeting, besides you, make a statement along those

 4   lines?

 5             A      I don't think any of our colleagues, other than the speaker and I, made any

 6   comments regarding the election itself.          Our other colleagues made comments

 7   regarding their position, their names, their locations, their interests, committees, et

 8   cetera.       But it was pretty much just the speaker and I and the President.

 9             Q      So my understanding is this statement came out fairly shortly after you left

10   the White House.         Is that right?

11             A      Yeah.    Yes, I think that's correct.

12             Q      I think we have -- we can bring it up -- but we have a tweet from you at 6:13

13   p.m. that references the statement.           So that's within a couple of hours of you leaving

14   the White House.         Is that right?

15             A      I think so, yeah.

16             Q      So is it fair to say that you had worked out or written up the statement

17   before you even went into the White House meeting?

18             A      We were talking about and contemplating how we were going to message

19   the fact that we actually went to the Oval Office before we went in so we were prepared

20   and didn't get caught off guard.          So we did discuss it before the meeting, yes.

21             Q      How about the sentence that I was just focused on, that "We have not yet

22   been made aware of any information that would change the outcome of the election in

23   Michigan"?        Is that something that you and Speaker Chatfield had already either written

24   out or decided that you were going to say in the press statement before you went into

25   the meeting?
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 1          A     This statement here was a joint effort between the [inaudible] group of the

 2   house and the senate.      None of these words are original words from Lee or I, the

 3   speaker and I.     But we read them and we may have edited them, but we accepted them.

 4          Q     I guess what I'm getting at is -- and I'm not trying to sort of put you on the

 5   spot, but I think there's probably an answer to this question that you may be able to

 6   share with us.

 7          It appears that before going into the meeting you and Speaker Chatfield had sort

 8   of come to the view that you had not yet been made aware of any information that

 9   would change the outcome of the election in Michigan.

10          And I'm wondering whether it was a conscious decision not to say that directly to

11   the President, which seemed like it was sort of directly relevant to the kinds of issues that

12   he was raising?     And I'm not casting any --

13          A     He may have -- sorry.     I interrupted you.

14          Q     Yeah.     I just wanted to say, I'm not casting any aspersions.   I'm just

15   wondering whether you're able to share whether that was a conscious decision to not go

16   there in that meeting?

17          A     No.     In fact, we may have said that to the President in one form or another.

18   I just don't remember every piece of that long conversation.

19          Q     Fair enough.

20          The statement goes on, "We will follow the law and follow the normal process

21   regarding Michigan's electors."

22          Was that an issue that came up in the Oval Office meeting, the issue of Michigan

23   law as it relates to electors for the electoral college?

24          A     My recollection that the business and the process of electors did not come

25   up in the Oval Office meeting.
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 1           Q      Was that something that was coming up in Lansing or in your other sort of

 2   interactions back in Michigan?

 3           A      Yes.

 4           Q      Can you tell us about that?

 5           A      We had a number of folks who from various angles had been suggesting not

 6   just Michigan but other States contemplate challenging how the electors are established

 7   and who is going to actually perform the final certification of the election.     I can think of

 8   two or three people specifically that brought that up to us.

 9           Q      Who were those people?

10           A      Robert Norton, Ian Northrup -- what is his last name?

11           Northan, Northan.        I get Norton and Northan mixed up.

12           And then Phil I Kline was in the middle of that as well toward the end.

13           Those are the three that I recall specifically.

14           Q      And was it your -- you spoke directly to Mr. Norton and Mr. Northan about

15   this issue of the legislature appointing electors.    Is that right?

16           A      That's correct.

17           Q      Do you know if Mr. Norton and Mr. Northan were talking to other members

18   of the Michigan Legislature on the same issue in the same time frame?

19           A      Yes.

20           Q      How soon after the November 2020 election were you made aware that this

21   was something that was being discussed by Mr. Norton, Mr. Northan, or others?

22           A      All right.   Now I've got to figure out the timing of when those first meetings

23   were.    I have them in my notes here.

24           I do not recall the exact dates of the interactions with Robert Norton and Ian and

25   Phill Kline.
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 1            Q      Even if you don't have an exact date, do you have a recollection that it was

 2   shortly after the election, like within days or a week of the election?

 3            A      I remember it was between the election and the electors event, and it was

 4   skewed toward the end of that.        So that would have been, I don't know, end of

 5   November, early December.

 6            Q      Well, the statement that we were just looking at is November 20th, and it

 7   seems that perhaps that was already on your screen even before going back to the White

 8   House.       So that's one of the reasons I asked how far back maybe it went.

 9            A      Yeah.   Well, that would qualify for end of November.       So as I said, it's in

10   that time period.

11            Q      Okay.   The last -- I want to bring up the exhibit that we had up before just

12   to ask you about one more portion of it, and it's on the same general topic.         It's that last

13   paragraph.

14            First, it talks about the certification process being free from threats and

15   intimidation.     Was that an issue on November 20th?         Were you concerned that the

16   certification process was being impacted by threats and intimidation of local or State

17   officials?

18            A      I will say, and this is with pretty good recall, not of the actual words, but the

19   environment that it was done in, is that it was a pretty high-pressured process having

20   these gentlemen come to our offices or invite us into one of their homes and pressing

21   pretty hard for -- you heard the phrase, "Do the right thing"?

22            Q      Yes.

23            A      I heard that phrase more than one time.

24            So that is a direct -- that sentence that you just highlighted is a direct response to

25   what I was personally feeling on occasion.
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 1          Now, I'm not going to suggest to you that there were specific threats, but the

 2   pressure was real and the expectations were, for the most part, unambiguous.

 3          Q     What do you think was causing those expectations or that pressure?

 4          A     People thinking on their own that the election results were not accurate, and

 5   they were looking for ways to affect the outcome.

 6          Q     You said people on their own.    Do you think that the people's views were

 7   shaped or guided in any way by what was coming out of the White House or from Mr.

 8   Giuliani and the other people who were promoting election fraud claims?

 9          A     Are you asking the question whether the media has any effect on what

10   people think?

11          Q     No, I'm not asking the media.    I'm asking where were people getting these

12   ideas that the election was stolen such that they were putting pressure on folks like you?

13          A     Well, in my case it was from individuals.   Where they got their information,

14   I have no clue.

15          Q     Do you feel that the -- you said you had a strong personal -- earlier you said

16   you had a strong personal feeling that we're destroying the country with these claims that

17   weren't necessarily supported.

18          Did you feel that that, that these claims that weren't necessarily supported were

19   the impetus behind people getting agitated and wanting to pressure you and others?

20          A     Ask that question again.

21          Q     Yeah, that was too long of a question.

22          Did you feel that the people who were putting pressure on you and others that

23   you referred to just now, do you think they were motivated by the fact that claims were

24   being made about election fraud that weren't necessarily true?

25          A     Well, I think they're being motivated by the claims that there's election
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 1   fraud.    I think I've been pretty clear here that we weren't sure about the claim of fraud

 2   on many of these things even then.       There still was a lot of investigation, a lot of time

 3   ahead to be invested.       But some people reached their own conclusions.

 4            Q    Understood.

 5            I want to ask you one more sentence in this press statement, and it's something

 6   we've talked about a little bit.   But the last paragraph towards the end says, "The

 7   candidates who win the most votes win elections and Michigan's electoral votes."

 8            Do you see that?

 9            A    Yep.

10            Q    Were you aware of discussions in Michigan about the possibility of electoral

11   votes being awarded to someone other than the person who got the most votes in the

12   election?

13            A    Yes.

14            Q    Is that this discussion with Mr. Norton and Mr. Northan and Ph ill Kline that

15   you were talking about?

16            A    Yes.

17            Q    And so the idea that was being promoted by those gentlemen was that the

18   legislature had the ability to award electoral votes to Donald Trump even though Joe

19   Biden had received the most votes in the State of Michigan?

20            A    That would be their assertion, yes.

21            Q    Did you continue to hear that theory promoted beyond November?

22            A    I continued to hear it up until the day the electors had made their final

23   decision.    I didn't hear it too much after that.

24            Q    Okay.

25            A    That I recall.
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 1          Q     So after the meeting on the 20th -- we've talked about the statement -- did

 2   you have any contact with President Trump after that date of November 20th?

 3          A     Yes.

 4          Q     He called you the following day.    Is that right?

 5          A     That is correct.

 6          Q     What do you recall about the phone call from the President on

 7   November 21st?

 8          A     I recall it was damn strange to get a phone call from the President when

 9   you're sitting in your tree stand.

10          Q     Okay.     Anything else you remember about the phone call?

11          A     He was very cordial.    He was primarily in the mood of thanking

12   us -- thanking me and thanking us for taking the time to visit.

13           He was consistent in what I've said before, is that there was never any asks

14   associated with any of the calls that he had made.

15          And really it was mostly pleasantries.    I felt no -- in any of the conversations -- I

16   felt no muscle, no shoulder being put into anything.

17          Q     Was it a replay of the Oval Office meeting in that did the President again

18   raise concerns about the election, or was it really just thanking you for coming?

19          A     No.     This was almost exclusively focused on circling back and thanking us

20   for making the trip.
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 1

 2   [2:01 p.m.]

 3

 4             Q     So the phone records --

 5             A     It was just short notice.

 6             Q     The phone records we've seen reflect that the call lasted 7 minutes.       Do

 7   you remember anything else that he said other than thanking you for coming?

 8             A     So Mr. -- President Trump can speak for 7 minutes effortlessly.      I don't

 9   recall anything specific besides him first calling, which to me was strange enough, and

10   then thanking us for attending.       That's really all I recall.

11             Q     So that call was at 3:24 on the afternoon of the 21st.     And then, if you take

12   a look at exhibit 4, we'll go to the -- this is a two-part tweet, so there's back-to-back

13   tweets.       I want to go to the second one, which came out at 8:18 that night.

14             Actually, sorry, Grant.   Can we go back to the first page for a moment?

15             The bottom of the -- the end of the first tweet says, "Hopefully the Courts and/or

16   Legislatures will have," dot, dot, dot, and the next tweet says, "the COURAGE" -- all

17   caps -- "to do what has to be done to maintain the integrity of our elections, and the

18   United States of America itself.      THE WORLD IS WATCHING!!!" all caps, three

19   exclamation points.

20             Do you remember when this tweet came out?

21             A     I do.

22             Q     And it was a few hours after your call.      Do you think it had anything to do

23   with your phone conversation?

24             A     No, because we didn't talk about actions in that specific call.

25             Q     Did you, when you saw this tweet, when it came out, did you feel that it was
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 1   in some way referring to you or the Michigan State Legislature?

 2            A    Yeah, I'd have to say yes, but mostly because of the words of some of the

 3   others that we'd been interacting with, not necessarily because of what Trump had said

 4   to us.

 5            Q    So what do you mean by that?

 6            A    Well, those are the same words, that "do the right thing" that Giuliani used,

 7   "do the right thing," he used that more than one time.

 8            Q    So the reference --

 9            A     1 don't recall if he said "courage."


10            Q     I'm sorry.    I think -- have we lost our audio, Senator Shirkey?       Did you say

11   something at the end there?

12            A     I don't recall him using the word "courage," Giuliani I'm talking about.         But I

13   do remember him using the word "do the right thing."

14            Q    So take a look at exhibit 5, which is a tweet that you sent the following

15   morning.     So exhibit 4 was at 8:18 p.m., and then on the next day, at 10:47 a.m., you

16   sent a tweet that says, "As I've repeatedly said, our election process MUST" -- all

17   caps -- "be free of intimidation and threats."

18            Did that tweet have anything to do with either your call with the President or the

19   tweet that we just looked at from November 21st?

20            A     I don't -- first of all, I don't tweet.   When I give -- when I make a tweet I

21   write them out and I have staff do them.          I don't -- so and I don't read tweets, I guess is

22   the most important point.

23            So I'd have never -- I don't -- I didn't read any of the unending list of tweets that

24   the President sent out.      Many of them were forwarded to me, but I don't do that.            It's a

25   waste of time.
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 1            But my recollection is most of my comments regarding this free of intimidation

 2   threats was more a result of meetings with the other folks we have already talked about.

 3            Q    I'm sorry, which folks, the folks you mean that came into your office and said

 4   do the right thing?

 5            A    Yeah, Norton and Northan and Kline, and that's all.

 6            Q    Okay.   I took your earlier comment about people coming to your office and

 7   saying do the right thing to be constituents or people beyond Mr. Norton, Northan, and

 8   Kline.   Was I mistaken on that?    You were just referring to those guys?

 9            A    They're not mutually exclusive.

10            Q    Okay.

11            A    Yeah.

12            Q    Yeah.   So there was more than just those three individuals who were

13   putting pressure on you in that time frame?

14            A    Oh, now, I told you I didn't tweet, but I do text, and I got dozens and dozens

15   of texts from constituents using those kinds of phrases and using those kinds of

16   comments.

17            Q    When you referred to people coming and sitting down in your office and

18   saying things like that, were you just referring to the three gentlemen we were talking

19   about or other people as well?

20            A    Primarily just the three gentlemen we were talking about.

21            Q    Okay.   And when we were talking about them earlier, you said that after

22   the electoral event or electors event that they stopped talking about this issue of having a

23   legislature appoint electors.

24            Do you mean the December 14th?         What date did you have in mind when you

25   said the electors event?
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 1           A     The December 14th date.

 2           Q     Okay.

 3           A     The date on which people were wanting us to contemplate assigning a

 4   different slate of electors.

 5           Q     Yeah.    And we're going to -- we'll get to that chronologically in a minute.

 6   just wanted to clarify on that piece of it.

 7           So I think -- is there anything else on the November 21st call that you can

 8   remember?      I think we've probably exhausted your memory on that.

 9           A     That 7-minute call in the tree stand?

10           Q     Yeah.

11           A     Nothing else.

12           Q     So the next call that we see in the phone records is on November 25th at

13   5:36 p.m., and it looks like that was about a 10-minute call.

14           Do you remember that call with the President?

15           A     Yes, I do.

16           Q     Tell me what you remember about that call on November 25th.

17           A     I remember I'm sitting at the dining room table, and my wife is in the

18   kitchen, and we were talking about the experience that we'd been having, I'd been

19   having, for the last few days or weeks.       And I look down at the phone and it said "Spam

20   risk Egypt" again.

21           And so I said, "He's calling right now."    She came over and sat down, and I

22   answered the phone.

23           Q     Actually, let's go off the record for one second if we could.

24           [Discussion off the record.]

25
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 1          Q      Let's go back on the record.

 2          So you've described sort of the setting of this call and where you were and your

 3   wife was.    What do you remember about the substance of the call on November 25th?

 4          A     I don't remember much about the substance.         What is vivid to me is that

 5   somehow I mentioned I was at home and my wife was listening, and he said, "Well, put

 6   her on the phone."     And of that 10 minutes they talked a fair amount of it and he was

 7   going on and on.

 8          I was still on his good list at that point in time, and he was going on and on about

 9   how great a guy I was, and she was questioning his judgment.       No, I'm sorry, I shouldn't

10   get cute on these calls.   And they just had a conversation.

11          The one thing I'm pretty confident in, if I ever felt like I've referred to with Norton

12   and Northan and Kline, if I ever felt like I was being pressed or pushed I would remember

13   that, and it never happened in any of my conversations with Trump.        It just never

14   happened.

15          Q     When we spoke previously you've mentioned the fact that you felt that

16   some of the tweets and the references to courage and so forth, that you were sort of

17   taking a little bit of offense at that and that you thought that was coming from the

18   President.

19          Am I mischaracterizing or misremembering those discussions?

20          A     I don't know.     I don't think you necessarily are misremembering.     I never

21   viewed any of those copies of tweets that I saw being directed personally at me.

22   mean, he was pretty much including all the States that were in that genre of questionable

23   outcomes.     So, no, I don't remember that.

24          Q      Back to the call on the 25th, did he say why he was calling?

25          A     I don't recall.
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 1             Q      Did he bring up or ask for a status report on how things were going in

 2   Michigan and what are you finding and where do things stand on the election fraud

 3   claims, or words to that effect?

 4             A      Nothing that I can remember.        What I do remember is not just that he

 5   never -- I don't recall any pressure -- but he never really got into any specifics about

 6   things.       It was all general arm waving, hand waving kind of stuff.     And this call was no

 7   different than that, that I recall.

 8             Q      Okay.     Let's take a look at exhibit 7, which is a tweet that someone on your

 9   behalf sent out.         I won't say it's you after what you've told us.

10             And it says in the first part of the two-part tweet, it says, "There have been reports

11   of calls coming from the Trump campaign regarding Michigan's electors.             We do not

12   know if these calls are legitimate, but we do know for certain that we will follow the law

13   and follow the normal process regarding Michigan's electors."

14             And the second part of the tweet says, "Assertions that Michigan legislators have

15   authority different from what is expressly found in State law are inaccurate.          Any change

16   would require intervention by the courts."

17             Do you remember why you sent these two tweets on December 1st?

18             A      Yeah.     I don't remember about why that date, but I remember the essence

19   of it, and that is that we were just getting inundated with calls to do the right thing,

20   tweets, text messages and stuff, but not from Trump, but from constituents.            And, hell, I

21   don't even know if they were constituents at this stage.           We couldn't track that very

22   well.

23             But there was a loud noise, loud, consistent cadence of, "We hear that the Trump

24   folks are calling and asking for changes in the electors and you guys can do this."        Well,

25   they were believing things that were untrue.
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 1            Q    And this is -- this seems as if it's along the lines of what Mr. Norton, Northan,

 2   and Kline had been telling you in terms of the role that the legislature could play.         Is that

 3   right?

 4            A    That is very similar to the outcome that they were asking for, yes.

 5            Q    And you were steadfast, it appears in these tweets, that that's not

 6   something that would be permissible under Michigan law.

 7            A    Correct.

 8            Q    Did this issue ever come up with President Trump on any of the phone calls,

 9   the issue of alternate electors?

10            A    You know, it's a fair question, and honest to God, I do not remember Trump

11   ever bringing up the notion of alternative electors.

12            Q    Okay.      On December 8th, so about a week later -- a week later -- it looks

13   like you had a couple of back-to-back calls, so maybe it was disconnected, because it

14   looks like they're literally right one after the other, with Vice President Pence on

15   December 8th.     And the calls totaled about 34 minutes.

16            Do you remember talking to the Vice President in that time frame?

17            A    Oh, yeah.

18            Q    Tell me how that came about.

19            A    So I had placed a call to his -- I think it was his chief of staff, but somebody

20   that I'd been given the name and number that could get to Vice President Pence --

21            Q    Can I stop you right there?     Do you remember who that person was who

22   you called?

23            A    I told you guys, Marc Short, Short.     Yeah, it's Short, S-h-o-r-t.   Yeah.

24            Q    So you called Mr. --

25            A    I'm pretty sure that's the right one.
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 1            Q    Sorry.     I was talking over you.

 2            A    I was given the name and number of Marc Short as the way for which I could

 3   connect with the Vice President.        And I did place a call to Marc Short asking him if I could

 4   have an opportunity to talk with Vice President Pence.

 5            Q    Why did you reach out for -- why were you reaching out for Vice President

 6   Pence?

 7            A    Because I knew that he -- I suspected, I should say, that he was, if I was

 8   feeling pressure, he was feeling even more pressure.

 9            And I just think he's a stand-up -- I don't know him -- didn't know him personally.

10   Don't know him personally.       I mean, we've met two or three times.        I doubt that he

11   would remember.

12            But I just think he's a stand-up guy.     And I knew instinctively that he was under

13   an enormous amount of pressure, and I wanted to call him and encourage him, because I

14   couldn't even imagine the kind of pressure that he was facing.

15            Q    What made you think that Vice President Pence was feeling pressure in this

16   early December time frame?

17            A    That's a fair question.

18            Q    I mean, it seems like you were feeling pressure over this issue of legislatures

19   being able to take some action regarding electors or do something about election fraud.

20   What made you think that Vice President Pence was getting pressure?

21            A    I recall hearing about him being the one that could prevail in that space

22   when they got together to certify the election or whatever that process was called at that

23   stage where the Vice President prevails over the -- presides, I should say.

24            Q    Is that something that Mr. Norton or Northan or Kline had told you?

25            A    No.      No.   My call to Mike Pence, Vice President Pence, had nothing to do
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 1   with the interactions with Norton and Northan and Kline.

 2           Q     I'm just wondering, this notion of the Vice President having some authority

 3   to do something that might have resulted in him being under some pressure, I'm trying to

 4   help sort of jog a memory as to where that might have come from.

 5           A     To the best of my recollection, it would've been from all the media reports

 6   and the talk shows and podcasts and things like that that were emanating nonstop 24/7.

 7           Q     Do you remember where you got Mr. Short's phone number from?

 8           A     Short, S-h-o-r-t.

 9           Q     Yes.

10           A     Yeah, okay.    No, I do not remember that.

11           Q     And so I understood your testimony to be that -- or your comment to be that

12   you wanted to reach out for Vice President Pence because you felt that he was getting

13   pressure, you were getting pressure, and that you wanted to sort of talk about the sort of

14   mutual spot that you found yourselves in.       Is that a fair characterization?

15           A     That's correct, yep.

16           Q     And tell me about the conversation with the Vice President.

17           A     We talked mostly about family and faith and his journey in politics and my

18   journey in politics.   At one point in time -- my office is -- at home -- is in a loft above our

19   bedroom, and my wife is in the bedroom watching TV or something.            And I recall at one

20   point in time she overhearing me talk about our kids and things, and she yelled up, "Who

21   are you talking to?"

22           And I said, "I'm talking to Vice President Pence."

23           And she said, "Oh, yeah, right," you know.

24           And so I put him on speakerphone for a second so that she could hear, and that

25   was the end of that.
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 1            But it really was a personal call, I mean, through and through a personal call.

 2   And he was as encouraging to me as I was attempting to be to him.

 3            We talked about faith a lot.   And I asked him about how did he feel his faith

 4   affected his relationship with President Trump.

 5            Frankly, I remember this pretty clearly.     I asked him, "Do you think your faith

 6   helped him develop his faith?"     You know, we spoke about that a bit.

 7            But it really was -- it was intended to be an encouraging call.     It was more

 8   encouraging for me than probably it was for him.        That's because of his nature.        We

 9   didn't hardly talk about any politics other than we're going to do what the law requires us

10   to do.

11            Q    Did you start the call by telling him that you were calling because you were

12   feeling some pressure and that you understood or felt that he might be feeling pressure?

13            A    I absolutely did.   In fact, when I told Marc Short -- because he asked for,

14   "Why do you want to talk with him?" and I told him those words.            Well, not those

15   words.

16            Q    Tell me what you remember telling Mr. Short.

17            A    He said, "What do you want to talk to him about?"

18            I said, "I just want to encourage him.     I know he's been under a lot of pressure

19   and I just want to encourage him."

20            I expected it would be a 7-minute call, not a 30-minute call.

21            Q    Okay.    Did you share with Mr. Short that you were feeling pressure as well

22   and that you felt you could have a sort of connection with the Vice President?

23            A    No, there was no -- there was very little cordial stuff shared with Mr. Short.

24            Q    When you got on the phone with the Vice President, though, did you tell him

25   that you were feeling pressure?
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 1          A     Sure.

 2          Q     And did the Vice President confirm your suspicion that he was indeed feeling

 3   some pressure?

 4          A     Oh, I don't know.     He came across like he was pretty solid and knew what

 5   he was going to do and knew what he had to do.        And he didn't signal that -- I don't

 6   recall him signaling to me that he's wavering on his responsibility.

 7          Q     So we know from the way things developed in the next month that there

 8   was pressure on the Vice President leading up to January 6th to take some action at the

 9   joint session of Congress on January 6th.

10          Were you talking with him specifically about that event and what his role would

11   be there and what he felt like he needed to do?      Is that what you were just referring to?

12          A     I don't recall speaking specifically of January 6th and that day.    I just recall

13   talking to him about I know he's -- we both knew he had an important role to play, as did

14   we in the legislature have an important role to play.    And I think I probably asked him,

15   "Do you see any fraud from your vantage point that would cause us to question the

16   process?"   And neither one -- and both of -- we asked that of each other, and neither

17   one of us had anything along those lines that would cause us to want to change our

18   prescribed actions.

19          Q     Did he share with you any of the discussions that he was having with the

20   President on any of these topics?

21          A     No.      He was very careful.   He was very careful with regards to any

22   comments regarding the President that I recall.

23          Q     Okay.     After your call, about a week later after your call with Mr. Pence,

24   was this December 14th date where the electoral college was supposed to meet and cast

25   votes for the appropriate candidate.
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 1          Did you have any role in either -- well, did you have any role in that process, the

 2   December 14th meetings of electors?

 3          A     No.     No.    I don't --

 4          Q     Were you -- sorry.          I didn't want to interrupt.   Were you finished with your

 5   answer?

 6          A     Yeah, I was finished.

 7          Q     Were you in Lansing on the 14th?

 8          A     No.     I was at home.

 9          Q     Did you have any awareness of the fact that there was a group forming of

10   Trump electors that were hoping to or planning to gather at the State capitol to cast votes

11   for Donald Trump on the 14th?

12          A     I knew that the charge or the goal of the fellows that I referred to before was

13   pretty much targeted to that action.          I didn't know if they were going to be successful in

14   aggregating a group or not.       I didn't ask.    I wasn't there.

15          Q     And when you say -- you're referring back to the discussions that you'd had

16   with Mr. Northan, Norton, and Kline?

17          A     Correct.

18          Q     Okay.      They didn't ask for any help from you in terms of getting a place in

19   the State capitol where the Trump electors could meet?

20          A     Not that I recall.     And after I left the last meeting I had with them I never

21   met with them again.

22          Q     On the same day of December 14th, you had a call with the President at

23   2:43 p.m., lasted 11 minutes.       Do you remember that conversation?

24          A     On the 14th of November?

25          Q     Of December.
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 1          A      So of the four calls, three of the four calls I remember where I was, what I

 2   was wearing, et cetera.     But this call is the one that I have the least amount of

 3   recollection of.

 4          Q      Do you remember anything about it?        And I'm not interested in -- I don't

 5   need to know what you were wearing but just what you talked about.

 6          A     Yeah, I know.     No, I don't.   And it's not -- I'm assuming that's not a very

 7   satisfactory answer to you, but I simply just don't remember much about that call.

 8          Q     That's okay.    I'm going to -- let me try and -- I'm going to give you some

 9   context, and maybe you've already sort of worked through this and it hasn't jogged a

10   memory.

11           But it is the date of the electoral college meeting and there was a lot of stuff going

12   on in Lansing and elsewhere.      And I'm wondering whether you recall ever talking about

13   those types of issues, about electors, with President Trump?

14          A      I don't.

15          Q      If you take a -- we're going to bring up exhibit 9, which is a couple of tweets

16   that you sent that day.

17           Now, this is -- the call was at 2:43 p.m., so these tweets were several hours later,

18   at 6:46 p.m., but the same day.

19          And the first one says, "The Michigan Senate continues to closely investigate the

20   allegations related to voting machines but has not discovered material proof of malicious

21   behavior thus far."

22          And the second tweet in the series says, "If Sidney Powell or anyone else has

23   concrete proof that voting machines were manipulated, it's past time they share it.

24   Otherwise, such continued allegations do nothing but further divide."

25           Does that give any context that might sort of jog a memory for you of what you
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 1   were talking to the President about that afternoon?

 2            A      It gives me great context as to why I sent those text messages -- or had my

 3   staff send them -- because, in fact, the second one, I actually remember rewriting it a

 4   little bit to make it more hard hitting.

 5            But I don't -- it doesn't -- it doesn't wash or remind me of anything with regards to

 6   the conversation I had with the President that day.

 7            I was getting frustrated.    I was getting frustrated.   All these allegations, all these

 8   claims, and all the damage, potential damage we're doing to the country and confidence

 9   in elections.     And I was tired of hollow claims with no action.    And I just wanted to put

10   a pin in it.    I didn't want any more calls.

11            Q      When you say you didn't want any more calls, do you mean from the

12   President?

13            A      From constituents, from people that were claiming that we weren't doing

14   enough or we're ignoring the process or ignoring what's in front of us.

15            Q      Well, you've had -- so by December 14th now, this is your fourth phone

16   conversation with the President, correct?

17            A      That is correct.

18            Q      And you had a White House meeting, correct?

19            A      That's correct.

20            Q      And the topic at the White House meeting and at least one of the calls that

21   you remember was about election fraud claims and what Michigan was doing about it,

22   right?

23            A      That's correct.

24            Q      And then, in this fourth call, at 2:43 on the 14th, you had some conversation

25   with the President.      And then later in the day you remember being sort of frustrated and
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 1   having had it with sort of the pressure that you were feeling and being asked about these

 2   claims that you considered hollow.

 3           Am I sort of getting that part right?

 4           A     You are.

 5           Q     Do you think that the President's conversation with you on the 14th might

 6   have had something to do with your feeling frustrated and fed up with the false claims of

 7   fraud that were being promoted?

 8           A     I'm not going to suggest that it didn't.   I'm just saying that I don't

 9   remember him ever putting any specific pressure on in any of the calls, and I think I would

10   remember that.

11           I remember vividly the call -- I remember vividly the pressure I got from Phil I Kline,

12   et al., but I just don't remember feeling that from the President himself directly.

13           Q     Okay.       Let me -- one last piece on that same day that might inform your

14   sort of recollection, and it's exhibit 10.

15           So we just looked at exhibit 9 where there's this issue that you've raised about

16   concrete proof of voting machines being manipulated.

17           And then within an hour of that tweet you were sent by Molly Michael, who is the

18   assistant to the President, an email which says "from POTUS," with attachment is a -- it's

19   described as a forensic report relating to Antrim County.

20           Do you remember getting that email and that forensic report?

21           A     I do.

22           Q     And do you remember whether that had anything to do with the phone

23   conversation that you had with the President earlier in the day?

24           A     I do not.

25           Q     Do you recall whether it had anything to do with the tweet that you sent just
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 1   an hour before you received that email?           Or do you know?       Maybe I'm asking you to

 2   speculate there as to whether the email had to do with the tweet, right?             You didn't

 3   send the email.

 4           A        What time was that email?        Was that on the 14th?

 5           Q        Yes, at 7:44 p.m.

 6           A        And what time were the tweets?

 7           Q        6:46.

 8           A        Yeah.      So that email wouldn't have had anything to do with the tweets

 9   because it came afterwards.

10           Q        Right.     And you'd be speculating as to what prompted the email, right?

11   You didn't send it.       You were the recipient.

12           A        Correct.

13           Q        But the reason I lay all this out is just to see if, of all the things that were

14   happening that day, whether any of that sort of jogs a memory of what the phone call

15   with the President was about that afternoon.

16           A        The only person more frustrated than maybe you on what I can't recall about

17   this call is me.    It, frankly, pisses me off that I can't remember this call very much.

18           You don't get calls from the President very often.          So all I can say is it was high

19   pressure time at that time and that probably affected my memory.               That's all.   That's

20   all I can say.

21           Q        Okay.      Do you recall whether you reviewed the report that was sent to you

22   on the 14th of December that's referenced in this email?            It's been referred to as the

23   ASOG report, or Allied Security Operations Group.

24           A        I absolutely recall not looking at it.

25           Q        Okay.      But you're familiar with it?
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 1          A     Yeah.

 2          Q     And I take it from your expression that you don't think much of it?

 3          A     That would be a fair assessment.

 4          Q     And how is it that you formed a view as to that report even if you didn't read

 5   it?

 6          A     I had spent a fair amount of time with investigating and learning about

 7   Dominion machines, and I reached the conclusion that the claims being made just -- they

 8   just didn't stand merit.

 9          Q     Did you have conversations with Senator McBroom on that topic?

10          A     I had many conversations with Senator McBroom on this topic.

11          Q     And you've seen the report that the oversight committee put out in

12   response to the various claims that were raised after the 2020 election, right?

13          A     Yes, sir.

14          Q     And do you feel that that report was comprehensive?

15          A     Yes.

16          Q     Well-reasoned?

17          A     Exceptionally well-reasoned.

18          Q     Okay.       And with specific respect to the Antrim County or Dominion claims,

19   did you feel that Senator McBroom had thoroughly investigated those claims?

20          A     Yes.

21          Q     And were you satisfied with the conclusions that were reached by the

22   oversight committee with respect to Antrim County and the Dominion machines?

23          A     Specific to Antrim County and Dominion machines, yes.

24          Q     The last exhibit I want to show you, and it seems like it ties into this issue

25   we've been talking about with respect to the electors, it's exhibit 11, and it's an email
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 1   dated December 17th.      We've redacted out the recipient of the email.     But it looks as if

 2   it's -- it may even be a form email that your office was sending out to constituents, but

 3   you can tell me if I'm wrong on that.

 4          Do you recognize the document?

 5          A     I absolutely recognize the document.

 6          Q     And am I correct that it's a form that you used to respond to multiple

 7   constituents on the same topic?

 8          A     That is correct.

 9          Q     Why is it that your office put out a form response that talked about the

10   issues that are referenced in this letter, including Michigan election law and the fact that

11   it does not allow for legislatures to unilaterally change the process for selecting electors?

12          A     Because I asked them to.

13          Q     What prompted you to make that ask?

14          A     Because we were getting repeated, almost verbatim communications,

15   whether they be text, email, phone calls, asking the same question or making the same

16   assertion.   And I wanted to be abundantly clear to folks that, A, we were listening to

17   them, we got their receipt, and they needed to know what the truth was in terms of what

18   our options were or weren't.

19          And this was to address those concerns so that the people didn't think we weren't

20   paying attention, and also to leave them with an unambiguous response.

21          Q     So this form letter, or at least this email, went out on December 17th, which

22   was after the date that the electors met.

23          A     Uh-huh.

24          Q     Do you know if the discussions about alternate electors or

25   legislature-appointed electors continued after December 14th?
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 1           A      I don't recall those conversations going beyond the meeting at the Capitol.

 2           Q      In fact, your recollection earlier was that it kind of tapered off after that

 3   December 14th meeting?

 4           A      Right.

 5           Q      Okay.      Senator Shirkey, at some point did the President include your cell

 6   phone number in either a tweet or a Facebook post?

 7           A      I believe so.

 8           Q      What do you remember about that?

 9           A      All I remember is receiving over -- just shy of 4,000 text messages over a

10   short period of time calling to take action.

11           Q      Do you remember what the prompt was from the President in terms

12   of -- that was included with the -- with your phone number?

13           A      I don't believe I actually ever saw the communication that the President sent

14   out, but I had staff tell me that they saw it, saying it was from the President.      He

15   used -- he posted your -- I think it was Facebook, but I could be wrong there, because, like

16   I said, I didn't see it personally.   But I remember staff saying they saw something from

17   the President with my cell phone number on it and it was a call to action.

18           Q      Do you remember the time frame of that?

19           A      No.      Well, I remember -- yeah, if you give me a few minutes I could go to

20   my calendar.     I was on vacation.      I was in Florida.   I don't remember the exact day,

21   but it was in January, would've been '21.

22           Q      Before January 6th?

23           A      On that part, I don't remember.       I think -- I'd have to look at when

24   my -- when I was actually on vacation to be able to triangulate that more closely.

25           Q      Okay.      Let me give you one more date --
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 1           A     Wait a minute.      Wait a minute.     Wait, wait, wait a minute.     Let's me just

 2   think this through.

 3           I was home when January 6th occurred, because we watched -- my wife and I

 4   watched it on TV.      So I think this was after January 6th, but I don't recall directly.

 5           Q     Let me give you another date as a sort of guidepost.        Did you participate in

 6   a Zoom call on January 2nd with hundreds of other State legislators from around the

 7   country?    It was organized by Phil I Kline and the Amistad Project.

 8           A     I did.

 9           Q     Does that help you peg a -- well, let me ask you, were you in Florida at the

10   time of that call?

11           A     What was the date?

12           Q     January 2nd.

13           A     I don't remember.

14           Do you remember?

15           Q     Okay.       What do you remember about that call?

16           A     Hold on a second,_            Can you go on hold for a minute because I'm just

17   trying to figure out --

18           Q     Let's go off the record.

19           [Discussion off the record.]

20

21           Q     Let's go back on the record.

22           A     Yeah.

23           Q     Go ahead, Senator Shirkey.

24           A     So the Trump posting of my cell phone was before January 6th.

25           Q     Were you able to pin the date?
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 1           A      January 3rd.      Wasn't that the 3rd?   Yeah.

 2           Q      Yeah.    We've seen a document that came out of the Trump campaign that

 3   authorized a call to action on January 3rd, and you think that was probably the posting

 4   that included your phone number?

 5           A      So recall, I told you, I never saw the original.   I was just shown an example

 6   of it, and it was dated January 3rd.

 7           Q      Okay.    So going back to this January 2nd call, what do you remember about

 8   it?   This is the --

 9           A      The group call?

10           Q      This is the group call, yeah.

11           A      What I remember about it was similar in nature to listening to Rudy and

12   Sidney Powell and basically trying to make the case that action was required.

13           Q      Do you recall the President being part of that call?

14           A      I do not recall that.   There's part of me that wants to say yes, but it's not

15   firm enough for me to say -- affirm, you know.

16           Q      Did you speak on the call?

17           A      I don't recall.

18           Q      Do you remember thinking that the presentation that was being made about

19   the power of the legislature and what the legislature needed to do was compelling?

20           A      They had done their research, and somebody that wasn't pretty solid in their

21   footing could have been easily swayed on it.

22           Q      But you felt you were solid in your footing?

23           A      As evidenced by my lack of action.

24           Q      And all the statements that you've -- that we've just looked at today, right?

25   I mean, was it -- it's on the same general issue that we've been talking about that was in
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 1   your tweets and your public statement after the 20th and your form letter that we looked

 2   at from December, right?

 3           A     Same exact issue, yes.

 4           Q     So you weren't moving on this one, on this issue of whether the legislature

 5   could appoint electors notwithstanding the popular vote being for Biden?

 6           A     Nope.     It was -- I would've had to have made a decision to break Michigan

 7   law to do that.

 8           Q     Do you remember ever telling the President that, in words or substance, that

 9   it would be breaking Michigan law to pursue this path of these alternate electors?

10           A     I can remember making that statement to more than one person, but I don't

11   recall if I actually did it to the President.

12           Q     Do you remember in the -- I'm going back now for just one moment to the

13   White House meeting.        Or actually, I'll include the phone calls as well.

14           Do you ever remember Vice President Pence's name or reference to the Vice

15   President's role coming up in any of those phone calls or in that White House meeting?

16           A     I definitely do not remember it in the White House meeting, as I recall.      It

17   did not occur, I don't think, in the, based on my recollection, on the first three calls.   And

18   I wish to hell I had better recollection of the fourth call.

19           Q     Okay.     So after -- just to sort of summarize -- after the November 2020

20   election you had four telephone calls with President Trump.          Is that right?

21           A     That's correct.

22           Q     And you met with him at the White House on November 20th?

23           A     That's correct.

24           Q     And you had one or two or back-to-back calls with Vice President Pence, but

25   those were -- well, let me just leave it at that.    You had two phone calls with Vice
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 1   President Pence on December 8th, correct?

 2            A    Yeah, they were the same call.       We just got interrupted.

 3            Q    Right.     And the combined time of the calls was about 34 minutes, right?

 4            A    Correct.

 5            He froze.

 6            Q    Let me -- let's go off the record for one second.     Let me take a short break

 7   and then I think we can wrap things up for an on-time landing.

 8            [Discussion off the record.]

 9            Mr. Schneider.     I'd like you to just reflect the fact that the January 3rd tweet in

10   which the President gave out the senator's phone number, that we found that, Patrick

11   and I found that, and we gave that to Senator Shirkey to refresh his memory as to that

12   date.    So that came from us to refresh his memory.

13                           Okay.      Thank you.

14            Mr. Schneider.     Yep.     And then Senator Shirkey just wants to add one other

15   thing.

16                           Okay.

17            Mr. Shirkey.     In the meeting in the White House that day we had -- Speaker

18   Chatfield and I had talked, oh, a fair amount of time in preparation for that, trying to

19   anticipate what they would include.        And one of the things we wanted to make sure that

20   we were lockstep on is that we were not going to deviate from Michigan law.

21            What words were used during that meeting in between the pontificating of the

22   President and Rudy and so forth, I don't recall directly, but that was something that was

23   very important to both Lee and I in terms of conveying to the President.

24            So whether or not I conveyed that to you during this interview, I don't know.

25   You'll have to look back through your notes.       But that's kind of a punctuation point I'd
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 1   like to make before we end this call.

 2                     BY

 3           Q       So let me follow up on that just to clarify.

 4           So I understand that you and Speaker Chatfield had this conversation prior to the

 5   meeting and that you were in lockstep that that was a point that you wanted to make.

 6   Is that correct?

 7           A       That's correct.

 8           Q       Did you make the point during the meeting?          Did you make the point,

 9   either you or Speaker Chatfield, did you make the point to the President that you were

10   not going to do anything that violated Michigan law?

11           A       I believe we did, whether or not it was those exact words or not.       I think

12   the words that I would've more likely used is we are going to follow the law.

13           Q       Okay.    You mentioned -- we've talked a little bit about Mr. Norton,

14   Mr. Northan, and Mr. Kline.          Did you understand any of them to have any role in the

15   Trump campaign?

16           A       I don't remember about Kline.       I don't know.     I know that they were

17   strong advocates for President Trump, but I don't recall that they had any formal role in

18   it.   They could have, but I don't remember that.

19           Q       Did you have any interactions, other than your conversations with the

20   President and the Vice President, did you have any interactions in the post-election time

21   frame with anyone that you knew to be associated with the Trump campaign?

22           A       Not that I recall.

23           Q       How about with the Trump campaign's legal efforts?          We've talked about

24   Mr. Giuliani.     You had some interactions with him.          You were on the January 2nd call,

25   and there were all sorts of folks on there, right?
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 1          A     You're talking about that Zoom call?

 2          Q     Yeah.      Yeah.

 3          But other than those interactions, the ones with Mr. Giuliani when you were at

 4   the White House, the interactions on the Zoom call on January 2nd, did you have any

 5   interactions with anyone that you knew to be representing the Trump campaign as a

 6   lawyer or otherwise?

 7          A     Not that I recall.

 8          Q     When I asked you a little while ago about whether you shared with anyone

 9   your view that it was a violation of Michigan -- it would be a violation of Michigan law to

10   have the legislature unilaterally appoint electors contrary to the popular vote, I think you

11   said you had that conversation with many people but not the President, correct?

12          A     Say that again,.

13          Q     That you had -- that you had -- you told several people but not the President

14   that you believed that it would be a violation of Michigan law for the legislature to

15   unilaterally appoint electors for President Trump even though Mr. Biden had won the

16   popular vote in Michigan?

17          A     Yeah.      I don't think I --1 don't recall saying that specific thing to the

18   President.   I just remember saying we were going to follow Michigan law.

19          Q     Yeah.      And I'm pivoting to this issue of the alternate electors or the

20   legislature appointing electors, and I just wanted to clarify one thing that you had said

21   earlier, that you said you did have that conversation with people but not with the

22   President.

23          A     Correct.

24          Q     And the clarification is, other than the three people we keep mentioning,

25   Norton, Northan, and Kline, who else do you remember making that statement to?               Or
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 1   is the number too many, there are too many people to even remember?

 2             A    Yeah.     I mean, I can't go to the grocery store without telling -- saying that to

 3   somebody.

 4             Q    Yeah.     Okay.   Understood.       Understood.    But no one, as far as you

 5   know, no one affiliated, you never made that comment to anyone affiliated with the

 6   Trump campaign?

 7             A    Not that I recall, no.

 8             Q    Okay.    That's all that I have.

 9             Is there anything else that you want to share on the record that you either haven't

10   covered or that you feel like you want to clarify before we break?

11             A    No.     I think you allowing me to clarify and reiterate the point that Lee and I

12   were going to make -- were making with the President in the Oval Office, I don't have

13   anything else to change.

14         -                 Okay.    So with that, we can go off the record.

15             Oh, hold on one second.        Let's go off the record for one second.

16             [Discussion off the record.]

17                           Okay.    So we can stay off the record.     No reason to go back on.

18             [Whereupon, at 2:54 p.m., the interview was concluded.]
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 1                     Certificate of Deponent/Interviewee

 2

 3

 4       I have read the foregoing _ _ pages, which contain the correct transcript of the

 5   answers made by me to the questions therein recorded.

 6

 7

 8

 9

10                                           Witness Name

11

12

13

14                                                Date

15
